   Case 15-13369        Doc 259-3 Filed 02/21/19 Entered 02/21/19 13:10:06             Desc
                               Proposed Order Page 1 of 1


                            UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MASSACHUSETTS
                                     (Eastern Division)

 In re:
                                                    Chapter 7
 ANDRE BISASOR,                                     No. 15-13369-JNF

                                Debtor.

  ORDER APPROVING TRUSTEE'S AMENDED FINAL REPORT AND ACCOUNT
  BEFORE DISTRIBUTION, REQUEST FOR COMPENSATION AND REPORT ON
                  CLAIMS/PROPOSED DISTRIBUTION

          The Trustee's Amended Final Report And Account Before Distribution and attachments

thereto having come for hearing before the Court, and no objections having been filed, the Court

hereby states as follows:

          IT IS ORDERED that the Trustee's Amended Final Report And Account Before

Distribution is hereby APPROVED, including all requests for compensation and expenses set forth

therein and other attachments thereto.




                                         ____________________________________
                                         JOAN N. FEENEY
                                         UNITED STATES BANKRUPTCY JUDGE


Dated:
